     Case 1:08-mj-00101-JM   Document 36   Filed 03/09/09   Page 1 of 2




                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                Case No. 08-mj-101-04-JM

Ernie Martinez

                               O R D E R

     Defendant appeared for a bail revocation hearing pursuant to

18 U.S.C. § 3148.    Defendant does not deny the bail violations -

being with his co-defendant; testing dirty for marijuana; failing

to appear for probation; and obtaining employment.           It also

appears he lied to probation.     He tested dirty again today.

      Given the number of failed opportunities to comply with

conditions I find that the defendant is unlikely to abide by any

condition or combination of conditions.       The conditions of

release are revoked.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.    The defendant shall be afforded a reasonable
      Case 1:08-mj-00101-JM   Document 36   Filed 03/09/09   Page 2 of 2




opportunity for private consultation with defense counsel.                 On

order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.

                                  ___________________________________
                                  James R. Muirhead
                                  United States Magistrate Judge

Date: March 9, 2009

cc:    Mark E. Howard, Esq.
       Arnold H. Huftalen, Esq.
       U.S. Marshal
       U.S. Probation




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